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W{D Clr' "i`-`~;r P-¢l§?¢€?“rli$

UNITED STATES OF AMER.ICA
Plaintiff,

VS. CR. NO. 05-20245-Ml &

04-20228-M1 ¢/
LASHUN JENKINS “_

Defendant.

 

ORDER ON CHANGE OF PLEA

 

This cause came to be heard on July 25, 2005, the United States
Attorney for this district, Stephen Hall, appearing for the Government and
the defendant, Lashun Jenkins, appearing in person and with counsel, Samuel
Perkins, who represented the defendant.

With leave of the Court, the defendant waived Indictment and entered
a plea of guilty to Count 1 of the Information.

Plea colloquy was held and the Court accepted the guilty plea.
Indictment 04-20228 to be dismissed at sentencing.

SENTENCING in this Case is SET for MONDAY, OCTOBER 24, 2005, at 9:00
a.m., in Courtroom No. 4, on the 9th floor before Judge Jon Phipps McCalla.

Defendant is remanded to the custody of the U. S. Marshal.

ENTERED this the ead day of July, 2005.

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J PHIPPS MCCALLA
ITED STATES DISTRICT JU'DGE

 

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This notice confirms a copy of the document docketed as number 80 in
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Samuel L. Perkins

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Honorable J on McCalla
US DISTRICT COURT

